 1

 2              IN THE UNITED STATES DISTRICT COURT FOR THE
                        WESTERN DISTRICT OF MISSOURI
 3                            SOUTHERN DIVISION

 4   UNITED STATES OF AMERICA,     ) Case No. 19-03055-01-CR-S-MDH
                                   )
 5             Plaintiff,          ) Springfield, Missouri
                                   ) April 24, 2019
 6   v.                            )
                                   )
 7   JASON A. HAMANN,              )
                                   )
 8             Defendant.          )
     ______________________________)
 9
              TRANSCRIPT OF PRELIMINARY AND DETENTION HEARING
10                  BEFORE THE HONORABLE DAVID P. RUSH
                      UNITED STATES MAGISTRATE JUDGE
11
     APPEARANCES:
12
     For the Plaintiff:               Ms. Josephine L. Stockard
13                                    Assistant United States Attorney
                                      901 St. Louis St., Ste. 500
14                                    Springfield, MO 65806
                                      (417) 831-4406
15
     For the Defendant:               Ms. Ann M. Koszuth
16                                    Federal Public Defender’s Office
                                      901 St. Louis St., Ste. 800
17                                    Springfield, MO 65806
                                      (417) 873-9022
18
     Court Audio Operator:            Ms. Karla Berziel
19
     Transcribed by:                  Rapid Transcript
20                                    Lissa C. Whittaker
                                      1001 West 65th Street
21                                    Kansas City, MO 64113
                                      (816) 914-3613
22

23

24
     Proceedings recorded by electronic sound recording, transcript
25   produced by transcription service.



           Case 6:19-cr-03055-MDH Document 18 Filed 05/16/19 Page 1 of 9
                                                                              2

 1                       (Court in Session at 2:07 p.m.)

 2              THE COURT:   Calling in United States vs. Jason Hamann.

 3   The defendant appears in person along with his attorney, Ms. Ann

 4   Koszuth.    The United States appears by Assistant United States

 5   Attorney, Ms. Jody Stockard.      This matter is set this afternoon

 6   for a preliminary hearing and detention hearing in regard to the

 7   Criminal Complaint which was filed against this defendant on

 8   April 19th, 2019.    On the preliminary hearing portion of the

 9   proceeding, the Court will take note of its own file, which

10   includes the affidavit in support of the Criminal Complaint.          Ms.

11   Stockard, is your case agent planning on being here today?

12              MS. STOCKARD:    Your Honor, we had a scheduling snafu and

13   he is not -- thought today was -- or thought this was tomorrow,

14   so he is across town.      I did ask Ms. Koszuth if she was okay with

15   proceeding without him and she said that she was.

16              MS. KOSZUTH:    Your Honor, --

17              MS. STOCKARD:    And I do apologize.

18              MS. KOSZUTH:    Your Honor, I don’t intend to challenge

19   probable cause, just detention.

20              THE COURT:   All right.   Thank you.    I just wanted to

21   make a record in regard to that issue then.        The Court will note

22   that the affiant in the Complaint is not present today in the

23   courtroom for these proceedings.      With regard to the detention

24   portion of the proceedings, the Court will take note of that same

25   affidavit and also the information contained in the Pretrial



           Case 6:19-cr-03055-MDH Document 18 Filed 05/16/19 Page 2 of 9
                                                                                   3

 1   Services Report, a copy of which has been provided to both

 2   parties.    The author of that report is Ms. Carrie Green, United

 3   States Probation Officer, and she is present in the courtroom for

 4   these proceedings.      With that before the Court, Ms. Stockard, do

 5   you have any evidence by way of witness, testimony, or proffer

 6   that you’d like to present on either the issue of probable cause

 7   or detention?     And then I’ll entertain any argument you’d like to

 8   make.

 9              MS. STOCKARD:    No additional evidence other than what’s

10   in the affidavit.     I would just note in the Pretrial Services

11   Report Mr. Hamann’s criminal history is outlined and it is fairly

12   extensive.    But I think I’d note he does have several drug

13   distribution offenses in the past.        So, when you’re talking about

14   somebody who is engaging more recently, and quite recently in

15   drug distribution activity, I do think that he has been in and

16   then continues to be a danger to the community in that regard.

17   So, I would ask you to follow the recommendation of the Pretrial

18   Services Report and detain him.        Thank you.

19              THE COURT:    All right.    Thank you, Ms. Stockard.         Ms.

20   Koszuth, on behalf of the defendant, do you have anything that

21   you’d like to present on either issue?         I understand you

22   indicated you weren’t challenging at this time probable cause.

23   But on the issue of probable cause and/or detention.

24              MS. KOSZUTH:    Yes, Your Honor, just argument.       Your

25   Honor, I strongly disagree with the conclusions of the Pretrial



             Case 6:19-cr-03055-MDH Document 18 Filed 05/16/19 Page 3 of 9
                                                                                  4

 1   Services Report.    I do believe that any risk of non-appearance or

 2   danger to the community can be mitigated quite satisfactorily by

 3   conditions that the Court can impose.       When I look at the reasons

 4   that the Pretrial Services Report lists as reasons for detention,

 5   Your Honor, they do list the offense charged, but that would

 6   negate anyone ever getting bond for these types of offenses.            He

 7   does have a substance abuse history and we are requesting

 8   treatment, and I’ll address that in a few minutes.         It lists

 9   aliases and false identification and I don’t know that I can

10   answer that because there is nothing in the report that I can

11   find that lists that.    He did have a counterfeiting conviction in

12   this Court a while back.    Perhaps that refers to that.       Your

13   Honor, as far as history of failure to appear, the only failure

14   to appear I could find in his criminal history was a 1995

15   disposition unknown.    And, Your Honor, I would just state that a

16   lot of times when we have those dispositions unknown they turn

17   out to be either charge not filed or charge dismissed.         There

18   does not appear to be any conviction for failure to appear.            And

19   lack of verifiable employment, which again, I can address in a

20   few minutes.   It also talks about a charge of first-degree murder

21   in 1997, which was over 20 years ago, which was dismissed.            My

22   client believes that is referring to a charge of conspiracy, not

23   an actual murder.   That again, was dismissed and again, over 20

24   years ago.   And so I don’t think that something that’s been

25   dismissed should bear much weight in the Court’s decision.            While



           Case 6:19-cr-03055-MDH Document 18 Filed 05/16/19 Page 4 of 9
                                                                                5

 1   he was on supervised release, although I believe that there were

 2   some violations and violation reports filed, he was -- doesn’t

 3   appear that he was ever revoked.       So, he has performed well on

 4   federal supervision.     And so he would be compliant with the

 5   conditions that the Court would impose.        Your Honor, as far as

 6   employment goes, my client does believe that he can get his old

 7   job back with Southern Missouri Containers.         He does believe that

 8   that is something -- and that was a very good job where he was

 9   earning approximately $30 an hour, and he would be able to

10   support his family.     He does have a family.      He has very strong

11   community ties and a very strong support system.         His fiancée was

12   supposed to be here but we believe she was detained.          And so he’s

13   supporting his fiancée and his daughter and his fiancée’s

14   daughter who are both minors in the home.        And his daughter

15   especially he has full custody of.       The mother is completely out

16   of the picture.    She’s abandoned the child and he does support

17   her.   He doesn’t have any convictions for crimes of violence,

18   Your Honor.   And, Your Honor, he has been on notice, if you will,

19   of these charges since December of 2018, and he has not fled and

20   he has not fled the jurisdiction or made any attempts to leave.

21   Your Honor, he’s had a sporadic history of drug treatment.             And I

22   would ask the Court to release him, but release him with the

23   condition to satisfactorily complete an in-patient treatment

24   program.   He is asking for treatment.       This isn’t something that

25   I just suggested as a way to get out of jail.         This is something



            Case 6:19-cr-03055-MDH Document 18 Filed 05/16/19 Page 5 of 9
                                                                                 6

 1   he approached me with wanting to complete a treatment program, to

 2   make sure that he can be the provider for his family that he

 3   needs to be in the coming months.      Because if he is convicted, he

 4   does realize that there will likely be a period of imprisonment

 5   and he would like to leave his family on the best footing that he

 6   can leave them on.    But, Your Honor, I believe with his family

 7   support, if he can satisfactorily complete treatment, he can get

 8   his job back that he had previously.      It’s a very good job.       And

 9   I think he can perform well on supervision.        And I would ask for

10   those reasons for you to consider a bond.       And I did explain to

11   him that if the Court is going to consider it, the Court would

12   likely wait a few weeks to make sure that any drugs are out of

13   his system before treatment because that would be the best recipe

14   for success.   Thank you.

15            THE COURT:    All right.    Thank you, Ms. Koszuth.      Yeah.

16   In reviewing -- in regard to the alias, it appears at the bottom

17   of page 3 of the Pretrial Services Report there must have been

18   something in a Presentence Investigation Report that indicates

19   that the defendant has used the alias names of Ryan Lynn McCurter

20   and Timothy A. Augenstein.     That’s the only reference that I see

21   in the report.   And I just point that out.      That’s the only place

22   I saw any reference to alias or false identification.         The Court

23   is going to take the issue under advisement.        And I know

24   sometimes when I am going to definitely release someone to

25   treatment and then bond, I will do that.       I’m not saying or



           Case 6:19-cr-03055-MDH Document 18 Filed 05/16/19 Page 6 of 9
                                                                             7

 1   tipping my hand that that’s what I intend to do.        I mean, the

 2   defendant does have multiple, as the Government has pointed out,

 3   multiple drug-trafficking offenses-felony and he does have, while

 4   there’s not necessarily, as defense counsel pointed out,

 5   necessarily I don’t think crimes of violence.        He does have a lot

 6   of weapons offenses and/or charges.      And I believe he does have a

 7   resisting an arrest for a felony.      And I’m not saying that’s a

 8   crime of violence.    I’m just saying that there are -- the

 9   criminal history is extensive, Mr. Hamann.       I mean, I’m not

10   telling you anything you don’t know.      And so the Court is leaning

11   clearly towards finding that you are a danger to the community.

12   But I’m going to take the matter under advisement and give it a

13   little more thought.    It’s just, like I said, you have weapons

14   offenses and you have felony drug-trafficking offenses.          And then

15   you’re charged with very serious charges that are set forth in

16   the Complaint.   And the facts in the Complaint obviously are

17   troubling to the Court.    But I will take it under advisement and

18   then I’ll render a decision.     Either I’ll issue a written

19   opinion, order that you be detained, or I’ll take it up and set a

20   status conference.    But Ms. Koszuth is right.      If I were inclined

21   to send you to treatment, it would only be after you had had a

22   period of drying out.    I don’t feel that that -- you wouldn’t

23   benefit from the 30 days or 28 days of treatment if you’re

24   spending half that time going through detox.        So, I’ll take it

25   under advisement.    Is there anything further from either side?



           Case 6:19-cr-03055-MDH Document 18 Filed 05/16/19 Page 7 of 9
                                                                              8

 1            MR. SUTTON:    No, Your Honor.

 2            MS. KOSZUTH:    No, Your Honor.

 3            THE COURT:    All right.    Thank you.    With that, we’ll be

 4   in recess.

 5                     (Court Adjourned at 2:17 p.m.)

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25



           Case 6:19-cr-03055-MDH Document 18 Filed 05/16/19 Page 8 of 9
                                                                           9

 1

 2

 3

 4
               I certify that the foregoing is a correct transcript
 5   from the electronic sound recording of the proceeding in the
     above-entitled matter.
 6

 7
               /s/ Lissa C. Whittaker             May 16, 2019
 8             Signature of transcriber                Date

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25



           Case 6:19-cr-03055-MDH Document 18 Filed 05/16/19 Page 9 of 9
